          Case 3:17-cv-00155-VAB Document 275 Filed 07/26/22 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT


SECURITIES AND EXCHANGE
COMMISSION,
    Plaintiff,

    v.
                                                                 No. 3:17-cv-155 (VAB)
MARK J. VARACCHI and SENTINEL
GROWTH FUND MANAGEMENT, LLC,
   Defendants,

and

RADAR ALTERNATIVE FUND LP and
RADAR ALTERNATIVE MASTER FUND SPC,
   Relief Defendants.


 RULING AND ORDER ON MOTION FOR PROFESSIONAL FEES AND EXPENSES

         On July 22, 2022, Jed Horwitt, Esq., the Court-appointed Receiver in this action brought

by the Securities and Exchange Commission (“SEC”), filed a twenty-first interim application for

professional fees and expenses incurred in this action. Twenty-First Interim Appl. for Pro. Fees

and Expenses Incurred by the Receiver and His Pros., ECF No. 272 (July 22, 2022).

         Mr. Horwitt moves for professional fees and expenses incurred between April 1, 2022,

through and including June 30, 2022. Id. at 3. Mr. Horwitt shared his application with counsel

for the SEC, and the SEC stated that it has no objection to the application. Id.

         In support of this application, Mr. Horwitt, his counsel, Zeisler & Zeisler, P.C. (“Z&Z”),

and accountant and financial advisor, Verdolino & Lowey, P.C. (“V&L”), submitted a summary

of professional fees and expenses requested, prepared in accordance with the Billing Instructions

for Receivers in Civil Actions Commenced by the SEC and the Receivership Orders. Id. at 4–5

¶¶ 2–5. The Receiver has agreed to public service discounts of their typical hourly fees for

services primarily provided when serving in his capacity as Receiver, and he, his counsel, and his
         Case 3:17-cv-00155-VAB Document 275 Filed 07/26/22 Page 2 of 2



accountant and financial advisor have voluntarily agreed to apply those rates to all of the

Receiver’s time during this period, including for services that were primarily legal in nature. Id.

at 6–7 ¶¶ 13–15.

       Mr. Horwitt and his counsel, Z&Z, spent 32.5 hours working on this matter during the

relevant period, and they seek an award of $8,451.20 for professional services and $642.38 for

reimbursement of expenses. Id. at 4–5 ¶ 4. The Receiver’s accountant and financial advisor,

V&L, spent 3.5 hours working on this matter during the relevant period, and they seek an award

of $812.00 for professional services. The Receiver, Z&Z, and V&L acknowledge that their fee

compensation is subject to a twenty-percent holdback, under the SEC Guidelines and the

Receivership Orders. Id. at 5 ¶ 6.

       This Court has reviewed the Application and supporting documentation and concludes

that the requested amounts $8,451.20 for professional services and $642.38 for reimbursement of

expenses to Mr. Horwitt and Z&Z, and the requested amount $812.00 for Z&Z are fair and

reasonable.

       Accordingly, the Receiver’s Twenty-First Application for Professional Fees and

Expenses is GRANTED.

       SO ORDERED at Bridgeport, Connecticut, this 26th day of July, 2022.

                                                                /s/ Victor A. Bolden
                                                              Victor A. Bolden
                                                              United States District Judge




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